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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ROME DIVISION

                                      Case No. 4:20-71-MLB

PATRICIA KENNEDY, Individually,

       Plaintiff

v.

AWADH INVESTMENTS LLC d/b/a ECONO
LODGE, a Georgia Limited Liability Company,

      Defendant
________________________________________/

                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, Patricia Kennedy, by and through undersigned counsel, hereby gives notice that,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff voluntarily dismisses any and all claims against

Defendant, Awadh Investments LLC d/b/a Econo Lodge, a Georgia Limited Liability Company,

with prejudice.

       Dated this 10th day of July, 2020.

                                              Respectfully submitted,

                                              THOMAS B. BACON, P.A.
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                                              and
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                                              By:_____/s/ Kathy L. Houston_______________
                                                    Kathy L. Houston, Esq. – FBN 56042
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                CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that the foregoing document is being served this 10th day of July, 2020, on

counsel of record or pro se parties identified on the attached Service List in the manner specified,

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing.

                                         SERVICE LIST

       Awadh Investments LLC d/b/a Econo Lodge, c/o Sarah Gulati, Esq., Gulati Law, P.L., 479
       Montgomery Place, Altamonte Springs, FL 32714; email: sarah@gulatilaw.com


                                               /s/ Kathy L. Houston       _______          .
                                             Kathy L. Houston, Esq.
